Case 2:85-cv-04544-DMG-AGR Document 420 Filed 04/23/18 Page 1 of 3 Page ID #:16418



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    16
                                UNITED STATES DISTRICT COURT
    17
                 CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
    18
         Jenny Lisette Flores, et al.,              Case No. CV 85-4544-DMG (AGRx)
    19
                          Plaintiffs,               NOTICE OF FILING OF
    20                                              REDACTED EXHIBITS IN
               v.                                   SUPPORT OF MOTION TO
    21
                                                    ENFORCE
    22   Jefferson B. Sessions, Attorney General,
         et al.,                                    District Judge Dolly M. Gee
    23
                          Defendants.
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Case 2:85-cv-04544-DMG-AGR Document 420 Filed 04/23/18 Page 2 of 3 Page ID #:16419



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                                                                      NOTICE OF FILING OF
                                                 ii                   REDACTED EXHIBITS
                                                                    CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 420 Filed 04/23/18 Page 3 of 3 Page ID #:16420



     1                   NOTICE OF FILING OF REDACTED EXHIBITS
     2          Pursuant to the Court’s Order of April 18, 2018, Docket No. 417, Plaintiffs
     3   hereby file in the public record the redacted versions of Exhibits 1-7, 9-21, 27, 30-52,
     4   55-71, 83, 84, and 88 in support of the Motion to Enforce.
     5

     6    Dated: April 23, 2018                         Respectfully submitted,

     7                                                  CARLOS R. HOLGUÍN
                                                        PETER A. SCHEY
     8
                                                        Center for Human Rights &
     9                                                  Constitutional Law
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                                                        LEECIA WELCH
    11                                                  National Center for Youth Law
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                                                        HOLLY COOPER
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    14
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                                                         /s/
    16
                                                        Leecia Welch
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                                                                                  NOTICE OF FILING OF
                                                    1                             REDACTED EXHIBITS
                                                                            CV 85-4544-DMG (AGRX)
